           Case 2:20-cv-00966-NR Document 152 Filed 07/22/20 Page 1 of 3




                 IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF PENNSYLVANIA

TRUMP FOR PRESIDENT, INC., et al.,              :
                       Plaintiffs               :            No. 2:20-CV-0966-NR
                                                :
               v.                               :
                                                :            Complaint Filed 6/29/20
KATHY BOOCKVAR, in her capacity as              :
Secretary of the Commonwealth of                :            Electronically Filed
Pennsylvania, et al.,                           :
                          Defendants            :

  MOTION FOR ADMISSION PRO HAC VICE OF SARAH M. MURRAY

      Sarah M. Murray, Lehigh County Deputy Solicitor, hereby moves that she

be admitted to appear and practice in this Court as counsel pro hac vice for

Defendant Lehigh County Board of Elections in the above-captioned matter

pursuant to LCvR 83.2 and LCvR 83.3 and respectfully submits the following:

      1.       Plaintiffs, Donald J. Trump for President, Inc., Glenn Thompson,

Mike Kelly, John Joyce, Guy Reschenthaler, Republican National Committee,

Melanie Stringhill Patterson, and Clayton David Show, have filed a complaint,

naming Kathy Boockvar, the Secretary of the Commonwealth of Pennsylvania, and

a number of other individuals and/or entities, including the Lehigh County Board

of Elections, as Defendants.

      2.       Plaintiffs raise various constitutional challenges to the administration

of the upcoming November general election.
           Case 2:20-cv-00966-NR Document 152 Filed 07/22/20 Page 2 of 3




      3.       The undersigned is a Deputy Solicitor of Lehigh County who will be

assisting with the defense of this matter.

      4.       Pursuant to the requirements set forth in Local Rule 83.2, please find

attached a declaration of Sarah M. Murray certifying the undersigned is both a

registered ECF user and familiar with the Local Rules of Court. See Attachment 1.

      5.       Also attached, is an Affidavit in Support of Motion for Admission Pro

Hac Vice. See Attachment 2.

      WHEREFORE, it is respectfully requested that Deputy County Solicitor,

Sarah M. Murray be admitted to practice in the United States District Court for the

Western District of Pennsylvania pro hac vice, for the purposes of the above-

captioned case on behalf of Defendant Lehigh County Board of Elections.

                                                 Respectfully Submitted:
                                                 /s/ Sarah M. Murray, Esq.
                                                 SARAH M. MURRAY, ESQ.
                                                 Deputy County Solicitor
                                                 Lehigh County Government Center
                                                 Department of Law – Room 440
                                                 17 S. 7th Street
                                                 Allentown, PA 18101
                                                 Phone: 610-782-3180
                                                 Fax: 610-871-2796
                                                 sarahmurray@lehighcounty.org
                                                 PA Attorney ID No. 203206




                                             2
        Case 2:20-cv-00966-NR Document 152 Filed 07/22/20 Page 3 of 3




                          CERTIFICATE OF SERVICE

      I certify that I caused the foregoing Motion for Admission Pro Hac Vice of

Sarah M. Murray, to be filed with the United States District Court for the Western

District of Pennsylvania via the Court’s CM/ECF system, which will provide

electronic notice to all counsel and parties of record.



Dated: July 22, 2020                           /s/ Sarah M. Murray, Esq.

                                               SARAH M. MURRAY, ESQ.
                                               Deputy County Solicitor




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